              Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 1 of 32




 1                                                 THE HONORABLE JOHN C. COUGHENOUR

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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9
     NORTHWEST GROCERY ASSOCIATION, an
10
     Oregon non-profit organization, the
     WASHINGTON FOOD INDUSTRY                          Case No. 2:21-cv-00142
11
     ASSOCIATION, a Washington non-profit
12   corporation,                                      DEFENDANT’S MOTION TO
                                         Plaintiff,    DISMISS THE COMPLAINT
13
            v.                                         NOTE ON MOTION CALENDAR:
14                                                     March 12, 2021
15   CITY OF SEATTLE, a municipal corporation,
                                                       ORAL ARGUMENT REQUESTED
16                                      Defendant.

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     MOTION TO DISMISS                                                               Peter S. Holmes
     Northwest Grocery Association et al. v. City of                            Seattle City Attorney
                                                                        701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                  Seattle, WA 98104-7095
                                                                                      (206) 684-8200
                   Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 2 of 32




 1                                                       TABLE OF CONTENTS

 2   I.         INTRODUCTION ............................................................................................................... 1

 3   II.        BACKGROUND ................................................................................................................. 1
 4
           A. Seattle acts to protect vulnerable workers. ............................................................................ 1
 5
           B. Plaintiffs seek to override critical public safety and health legislation by private contract. . 4
 6
     III.       LEGAL STANDARD .......................................................................................................... 4
 7
     IV.        ARGUMENT ....................................................................................................................... 5
 8

 9         A. The Ordinance is a valid exercise of the City’s police powers. ............................................. 5

10               1. The City’s police powers allow regulation of working conditions in the City. ............ 6
11               2. The City’s police powers are at their maximum to address emergencies like the
12                  COVID-19 public health crisis. .................................................................................... 7

13               3. Plaintiffs’ allegation that the Ordinance was supported by a labor union does not
                    negate its fundamental purpose to protect public health, safety, and welfare. ............. 9
14
           B. The Ordinance, like other police power regulations generally applicable to the workplace,
15            are not preempted by the NLRA. ......................................................................................... 10
16
                 1. Valid exercises of the City’s police powers are presumed not preempted. ................ 10
17
                 2. Substantive state labor standards are not preempted by the NLRA............................ 11
18
                 3. State and local laws regulating rates of pay are not preempted by the NLRA. .......... 13
19

20         C. The Ordinance does not unconstitutionally impair Plaintiffs’ members’ contracts. ........... 14

21               1. Private contracts for labor do not supersede governmental protections of public
                    safety, health, and welfare. ......................................................................................... 14
22
                 2. The Ordinance does not substantially impair any contract. ........................................ 16
23

24               3. The Ordinance has a significant and legitimate public purpose, justly achieved. ...... 17

25         D. The Ordinance, rationally related to proper legislative goals, does not violate equal
              protection guarantees. .......................................................................................................... 19
26


     MOTION TO DISMISS– Page i                                                                                              Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                                   Seattle City Attorney
                                                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                         Seattle, WA 98104-7095
                                                                                                                             (206) 684-8200
                  Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 3 of 32




 1
                1. The Ordinance is subject to, at most, a rational basis review. .................................... 19
 2
                2. The Ordinance easily survives review. ....................................................................... 21
 3

 4        E. The Washington Constitution’s Privileges and Immunities Clause provides no separate
             basis for the Complaint. ....................................................................................................... 23
 5
     V.        CONCLUSION .................................................................................................................. 24
 6

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     MOTION TO DISMISS– Page ii                                                                                           Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                                 Seattle City Attorney
                                                                                                             701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                       Seattle, WA 98104-7095
                                                                                                                           (206) 684-8200
                 Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 4 of 32




 1                                                TABLE OF AUTHORITIES

 2
     Cases
 3
     Alaska Airlines Inc. v. Schurke, 898 F.3d 904 (9th Cir. 2018) ....................................................... 7
 4
     Albertson's, Inc. v. United Food & Commercial Workers Union, AFL-CIO & CLC,
 5     157 F.3d 758 (9th Cir. 1998) .................................................................................................... 17
 6
     Allied Structural Steel Co. v. Spannaus, 438 U.S. 234 (1978) ............................................... 15, 16
 7
     Alsop v. Desantis, 2020 WL 4927592 (M.D. Fla. 2020) ................................................................ 8
 8
     Am. Hotel and Lodging Association v. City of Los Angeles, 834 F.3d 958 (9th Cir. 2016) ......... 13
 9
     Ass’n of Surrogates & Supreme Court Reporters Within City of New York v. State of N.Y.,
10
       940 F.2d 766 (2nd Cir. 1991).................................................................................................... 19
11
     Associated Builders & Contrs. of S. Cal. v. Nunn, 356 F.3d 979 (9th Cir. 2004) ........................ 14
12
     Babler Bros., Inc. v. Roberts, 995 F.2d 911 (9th Cir. 1993) ......................................................... 13
13
     Barrentine v. Arkansas-Best Freight System, Inc., 450 U.S. 728 (1981) ............................... 12, 13
14

15   Bldg. & Const. Trades Council of Metro. Dist. v. Associated Builders & Contractors of
       Massachusetts/Rhode Island, Inc., 507 U.S. 218 (1993) .......................................................... 11
16
     Bullock v. Carter, 405 U.S. 134 (1972) ........................................................................................ 20
17

18   Chamber of Commerce v. Bragdon, 64 F.3d 497 (9th Cir. 1995) ................................................ 14

19   Chicago Bd. of Realtors, Inc. v. City of Chicago, 819 F.2d 732 (7th Cir. 1987).......................... 19

20   City of Tacoma v. Fox, 158 Wash. 325 (1930) ............................................................................... 6
21   Covell v. City of Seattle, 127 Wash.2d 874 (1995) ......................................................................... 6
22
     East New York Savings Bank v. Hahn, 326 U.S. 230 (1945)............................................ 10, 15, 18
23
     Energy Reserves Group, Inc. v. Kan. Power and Light Co., 459 U.S. 400 (1983) .... 15, 16, 17, 18
24
     Etere v. City of New York, 2009 WL 498890 (S.D.N.Y. Feb. 24, 2009) ...................................... 20
25

26   F.C.C. v. Beach Communications, Inc., 508 U.S. 307 (1993) ................................................ 21, 22


     MOTION TO DISMISS– Page iii                                                                                      Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                             Seattle City Attorney
                                                                                                         701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                   Seattle, WA 98104-7095
                                                                                                                       (206) 684-8200
                 Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 5 of 32




 1
     Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409 (2014) .......................................................... 5
 2
     Gen. Offshore Corp. v. Farrelly, 743 F. Supp. 1177 (D.V.I. 1990) ............................................. 17
 3

 4   Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246 (1994) ............................................................... 10

 5   Hillis Homes, Inc. v. Snohomish County, 97 Wash.2d 804 (1982) ................................................. 6
 6   Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 428 (1934) .................................. 15, 18, 20
 7
     Hudson Water Co. v. McCarter, 209 U.S. 349 (1908) ................................................................. 16
 8
     In re Abbott, 954 F.3d 772 (5th Cir. 2020) ..................................................................................... 8
 9
     In re Estate of Hambleton, 181 Wash.2d 802 (2014) ............................................................. 15, 24
10

11   In re Rutledge, 956 F.3d 1018 (8th Cir. 2020)................................................................................ 8

12   Int’l Franchise Ass’n v. City of Seattle, 803 F.3d 389 (9th Cir. 2015) ......................................... 21

13   Jackson Water Works, Inc. v. Public Utilities Comm’n of State of Cal.,
       793 F.2d 1090 (9th Cir. 1986) .................................................................................................. 21
14

15   Kadrmas v. Dickinson Pub. Schs., 487 U.S. 450 (1988) .............................................................. 22

16   Kwan v. SanMedica Int’l, 854 F.3d 1088 (9th Cir. 2017) .............................................................. 4

17   Lochner v. New York, 198 U.S. 45 (1905) .................................................................................... 20
18
     Lusnak v. Bank of Am., N.A., 883 F.3d 1185 (9th Cir. 2018) ....................................................... 10
19
     Machinists v. Wisconsin Employment Relations Comm’n, 427 U.S. 132 (1976) ......................... 11
20
     Margola Associates v. City of Seattle, 121 Wash.2d 625 (1993) ........................................... 16, 17
21
     Martinez-Cuevas v. DeRuyter Bros. Dairy, Inc., 196 Wash.2d 506 (2020) ....................... 7, 23, 24
22

23   Massachusetts Bd. of Retirement v. Murgia, 427 U.S. 307 (1976)............................................... 20

24   Medtronic, Inc. v. Lohr, 518 U.S. 470 (1996) .............................................................................. 10

25   Metro. Life Ins. Co. v. Massachusetts, 471 U.S. 724 (1985) .............................................. 7, 11, 12
26


     MOTION TO DISMISS– Page iv                                                                                      Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                            Seattle City Attorney
                                                                                                        701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                  Seattle, WA 98104-7095
                                                                                                                      (206) 684-8200
                 Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 6 of 32




 1   Munn v. People of State of Illinois, 94 U.S. 113 (1876) ............................................................... 10

 2   National Broadcasting Co. v. Bradshaw, 70 F.3d 69 (9th Cir. 1995) .................................... 11, 13
 3
     Nebbia v. People of State of New York, 291 U.S. 502 (1934) ...................................................... 20
 4
     Ockletree v. Franciscan Health Sys, 179 Wash.2d 769 (2014) .............................................. 23, 24
 5
     Parrish v. W. Coast Hotel Co., 185 Wash. 581 (1936), aff'd, 300 U.S. 379 (1937) ....................... 7
 6
     Petstel, Inc. v. King Cty., 77 Wash.2d 144 (1969) .......................................................................... 7
 7

 8   Roe v. Wade, 410 U.S. 113 (1973) ................................................................................................ 20

 9   RUI One Corp. v. City of Berkeley, 371 F.3d 1137 (9th Cir. 2004) ................................... 6, 21, 23
10   Seattle Prof'l Eng'g Employees Ass'n v. Boeing Co., 139 Wash.2d 824 (2000) ............................. 3
11
     Shapiro v. Thompson, 394 U.S. 618 (1969) .................................................................................. 20
12
     Skinner v. Oklahoma ex rel. Williamson, 316 U.S. 535 (1942) .................................................... 20
13
     Slidewaters LLC v. Washington Dep't of Labor & Indus, 2020 WL 3130295 (E.D. Wash., June
14      12, 2020) (slip copy); 2020 WL 3979661 (E.D. Wash. July 14, 2020) ...................................... 9
15
     Tyrpak v. Daniels, 124 Wash.2d 146 (1994) ................................................................................ 15
16
     U.S. Tr. Co. of New York v. New Jersey, 431 U.S. 1 (1977)..................................................... 9, 18
17
     United States v. Williams, 124 F.3d 411 (3rd Cir. 1997) .............................................................. 20
18

19   Usery v. Turner Elkhorn Mining Co., 428 U.S. 1 (1976) ............................................................... 5

20   Vance v. Bradley, 440 U.S. 93 (1979) .......................................................................................... 21

21   Vazquez v. Jan-Pro Franchising Int'l, Inc., 2021 WL 403788 (9th Cir. 2021) .............................. 5
22
     Veix v. Sixth Ward Bldg. & Loan Ass’n, 310 U.S. 32 (1940) ................................................. 16, 17
23
     Velasquez-Rios v. Barr, 979 F.3d 690 (9th Cir. 2020) ................................................................... 6
24
     Viceroy Gold Corp. v. Aubry, 75 F.3d 482 (9th Cir. 1996) .......................................................... 12
25
     West Coast Hotel Co. v. Parrish, 300 U.S. 379 (1937) ......................................................... passim
26


     MOTION TO DISMISS– Page v                                                                                      Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                           Seattle City Attorney
                                                                                                       701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                 Seattle, WA 98104-7095
                                                                                                                     (206) 684-8200
                  Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 7 of 32




 1
     William v. Rhodes, 393 U.S. 23 (1968)......................................................................................... 20
 2
     Williamson v. Lee Optical of Oklahoma Inc., 348 U.S. 483 (1955) ................................. 10, 20, 22
 3

 4   Wisconsin Dep't of Industry v. Gould, Inc., 475 U.S. 282 (1986) ................................................ 11

 5   Yim v. City of Seattle, 194 Wash.2d 651 (2019) ....................................................................... 6, 16
 6
     Statutes
 7
     29 U.S.C. §§ 157-158 ................................................................................................................... 11
 8
     29 U.S.C. §§ 201 et seq................................................................................................................. 17
 9

10   Ordinance No. 126274 ........................................................................................................... passim

11   Rev. Code Wash. 49.46................................................................................................................. 17
12   Seattle Mun. Code 14.19 ............................................................................................................... 17
13
     Court Rules
14
     Fed. R. Civ. P. 12(b)(6)................................................................................................................... 4
15

16   Constitutional Provisions
17
     U.S. Const., Art. I, §10 ................................................................................................................. 15
18
     Wash. Const. Art I, § 12 ............................................................................................................... 23
19
     Wash. Const. Art. I, § 23 .............................................................................................................. 15
20
     Wash. Const. Art. XI, § 11.............................................................................................................. 6
21

22

23

24

25

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     MOTION TO DISMISS– Page vi                                                                                            Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                                                  Seattle City Attorney
                                                                                                              701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                                                        Seattle, WA 98104-7095
                                                                                                                            (206) 684-8200
              Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 8 of 32




 1                                            I. INTRODUCTION

 2          For more than eight decades, the unquestionable law of the land has enabled local
 3   governments to impose minimum compensation requirements on businesses. Plaintiffs now urge
 4   this Court to return to the nineteenth century and elevate their private arrangements to purchase
 5   labor over public health, safety, and welfare. Under normal circumstances, the contention that
 6   private law could override the public interest in safe and fair workplaces would have no merit.
 7   But these are not normal circumstances. A global pandemic continues to rage, killing hundreds
 8   of thousands of people across this country. In response, the City of Seattle acted to support and
 9   protect grocery store employees, critical frontline workers since the start of the pandemic, who
10   are increasingly vulnerable to COVID-19 exposure and continue to provide a crucial service to
11   the community.
12          Plaintiffs’ claims have no cognizable legal basis, whether taken in a vacuum or
13   considered in the context of the current health crisis we all face. Plaintiffs’ claims that others
14   should be regulated, or that a different approach should be taken to address public health, safety,
15   and welfare are not matters to be resolved by this Court; they are quintessentially political
16   questions that must be addressed to the legislative functions of government. This Court should
17   dismiss Plaintiffs’ complaint with prejudice. 1
18                                             II. BACKGROUND
19
         A. Seattle acts to protect vulnerable workers.
20
            On January 25, 2021, the Seattle City Council (“Council”) voted unanimously to exercise
21
     the State’s police power to ensure minimum employment standards for grocery employees by
22
     enacting the Grocery Employees Hazard Pay Ordinance, Ordinance No. 126274 (“Ordinance”).
23

24   1
       Defendant City of Seattle was prepared to raise its intention to move to dismiss the complaint at
25   the status conference on February 17, 2021. However, the only issue addressed at the status
     conference was the scheduling of Plaintiffs’ preliminary injunction hearing.
26


     MOTION TO DISMISS– Page 1 of 24                                                           Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
              Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 9 of 32




 1   On February 3, 2021, Seattle’s Mayor signed the Ordinance into law. 2

 2          At its core, the Ordinance is a minimum compensation law. The Ordinance requires

 3   covered grocery businesses to pay covered employees “hazard pay at a rate of four dollars per

 4   hour for each hour worked in Seattle” where hazard pay “means additional compensation owed

 5   to an employee on top of the employee’s other compensation . . .” Ordinance, Sections

 6   100.025.A, 100.010. The Ordinance prohibits covered employers from taking “steps to reduce

 7   employee compensation so as to prevent, in whole or in part, employees from receiving hazard

 8   pay” where those reductions to employee pay are made “as a result of this ordinance going into

 9   effect . . .” Id., Section 2, 100.025.A.1. The Ordinance does not prohibit reductions in employee

10   pay that are made on some other basis. 3 Employers are further allowed to offset the amount

11   owed in hazard pay under the Ordinance with hazard pay they are already providing to

12   employees. Id., Section 2, 100.025.A.2. The net effect is to ensure a minimum compensation

13   rate for covered employees of four dollars per hour in addition to their regular rate of pay. 4

14          The Council made extensive findings supporting the requirement to provide hazard pay to

15   grocery store employees. The Council noted that Washington State’s Governor had deemed

16   “essential workers” exempt from prohibitions on continued public-facing business during the

17

18

19   2
       See https://seattle.legistar.com/LegislationDetail.aspx?ID=4754242&GUID=80536722-1338-
     426A-A175-DCF61CCAF08F&Options=ID%7cText%7c&Search=#, accessed on February 8,
20   2021 for a timeline for enacting the challenged Ordinance; see also Dkt. 1, Exhibit A (copy of
     the Ordinance).
21   3
       The Ordinance clearly contemplates that employee pay could be reduced for other reasons, as it
22   requires employers to “maintain records to establish the reason(s) for any reduction in employee
     compensation….” Ordinance, Section 100.025.A.1.
23   4
       The Ordinance also includes provisions related to the enforcement of this central requirement,
     including notice and recordkeeping requirements (Ordinance, Section 2, 100.030-100.040); anti-
24   retaliation provisions (id., Section 2, 100.050); public enforcement by Seattle’s Office of Labor
25   Standards (id., Section 2, 100.060, 100.080-100.090); a private right of action (id., Section 2,
     100.260); and remedies for violations. Id., Section 2, 100.200.
26


     MOTION TO DISMISS– Page 2 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 10 of 32




 1   global COVID-19 pandemic. Id., Section 1, F.5 The Council also cited studies showing that

 2   grocery employees who interacted with the public were five times as likely to be infected with

 3   COVID-19. Id., Section 1, J. The Council cited studies showing that multiple COVID-19

 4   variants with increased transmissibility are in circulation. Id., Section 1, L-N. The Council

 5   acknowledged uncertainties surrounding timelines for when grocery store employees could

 6   expect to receive vaccines. Id., Section 1, O-Q. It was further recognized that retail businesses,

 7   including grocery stores, made record profits during 2020. Id., Section 1, K.

 8          The Council concluded that grocery stores relied upon the work of grocery store

 9   employees who are highly vulnerable to health and safety risks. Id., Section 1, W-BB. The

10   Council found that hazard pay would compensate those employees for the risks they take, permit

11   the employees to access resources they need to stay safe and healthy, improve retention of those

12   workers, and support community access to safe and healthy food, and immediately address a

13   critical public health threat. Id., Section 1, EE, GG, HH, JJ.

14          The Ordinance is temporary emergency legislation; the hazard pay requirement expires

15   when the Mayor ends the emergency she declared on March 3, 2020. Id., Sections 2, 5.6, 7

16   ///

17
     5
18     As of February 10, 2020, there were more than 27 million cases of COVID-19 in the United
     States, accounting for more than 450 thousand deaths. https://covid.cdc.gov/covid-data-
19   tracker/?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
     ncov%2Fcases-updates%2Fcases-in-us.html#cases_casesper100klast7days, accessed on
20   February 10, 2021. The massive impact of the health crisis on this country is well documented
     and ongoing.
21   6
       In the recitals preceding the Ordinance, Council made clear its intention to revisit the necessity
22   of the Ordinance in four months. Ordinance, Recitals.
     7
       Recordkeeping and enforcement provisions survive the end of the emergency for three years,
23   consistent with recordkeeping requirements in the Ordinance (Ordinance, Section 2, 100.080.C)
     and with the usual statute of limitations for wage standards in Washington. Ordinance, Section
24   5; see Seattle Prof'l Eng'g Employees Ass'n v. Boeing Co., 139 Wash.2d 824, 837 (2000) (finding
25   that claims under the Washington State Minimum Wage Act are subject to a three-year statute of
     limitations).
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     MOTION TO DISMISS– Page 3 of 24                                                        Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                   Seattle City Attorney
                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                         Seattle, WA 98104-7095
                                                                                             (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 11 of 32




 1       B. Plaintiffs seek to override critical public safety and health legislation by private
            contract.
 2
            Plaintiffs filed their Complaint on February 3, 2021. Plaintiffs seek injunctive and
 3
     declaratory relief, urging this Court to strike down the Ordinance because they believe that their
 4
     members’ private contracts for labor supersede legislation for public health, safety and welfare
 5
     and because Plaintiffs have policy disagreements with legislative determinations about the
 6
     applicability and scope of the Ordinance. 8
 7
            As to members’ contracts, Plaintiffs contend that the National Labor Relations Act
 8
     (“NLRA”) preempts the Ordinance because some employees subject to a collective bargaining
 9
     agreement would be covered by the law. Complaint, ¶¶ 23-31. Plaintiffs also seek to elevate
10
     their members’ contracts for labor over the City’s police power legislation on the theory that the
11
     Federal and Washington State constitutions’ contract clauses prohibit regulations for public
12
     safety and health that impinge on private contracts. Id., ¶¶ 42-48.
13
            Plaintiffs disagreement with legislative policy decisions are embodied in their claims that
14
     the Ordinance violates the federal and Washington State constitutions’ equal protection
15
     guarantees. Id. at ¶¶ 32-41. Plaintiffs contend that the Ordinance implicates a “fundamental
16
     right” held by Plaintiffs’ members in the form of their contracts for labor and that the City should
17
     have chosen to regulate more broadly. Id.
18
                                         III.      LEGAL STANDARD
19

20          Complaints, like the one at issue here, may be dismissed for a “failure to state a claim

21   upon which relief may be granted.” Fed. R. Civ. P. 12(b)(6). Dismissals of a complaint under

22   this Rule may be based on the absence of a cognizable legal theory. Kwan v. SanMedica Int’l,

23

24   8
      Plaintiffs also filed a Motion for Preliminary Injunction (Dkt. 10) on February 11, 2021. The
25   City will file an opposition to that motion on February 26, 2021, consistent with Local Court
     Rule 7.
26


     MOTION TO DISMISS– Page 4 of 24                                                        Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                   Seattle City Attorney
                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                         Seattle, WA 98104-7095
                                                                                             (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 12 of 32




 1   854 F.3d 1088, 1093 (9th Cir. 2017). A motion to dismiss for failure to state a claim is an

 2   “important mechanism for weeding out meritless claims” and dividing “the plausible sheep from

 3   the meritless goats.” Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409, 425 (2014).

 4                                            IV.      ARGUMENT

 5          Plaintiffs’ claims have no legal basis. The Ordinance is a valid exercise of the City’s
 6   police power, addressing critical public health, safety, and welfare issues by setting a rate of pay
 7   for covered employees. It constitutes a part of the backdrop against which Plaintiffs’ members
 8   bargain for labor and is therefore not preempted by federal labor law. The Ordinance imposes
 9   only “civil (and purely economic) liability” on some of Plaintiffs’ members and is therefore a
10   “legislative act[] ‘adjusting the burdens and benefits of economic life [that] come[s] to the Court
11   with a presumption of constitutionality’” Vazquez v. Jan-Pro Franchising Int'l, Inc., __F.3d___,
12   2021 WL 403788, at *9 (9th Cir. February 2, 2021) (slip copy) (quoting Usery v. Turner Elkhorn
13   Mining Co., 428 U.S. 1, 15 (1976)) (alterations supplied). Such laws do not, as a matter of law,
14   constitutionally impair existing contracts for labor, particularly in the context of the panoply of
15   existing labor regulations and the current crisis. Finally, the City clearly had a rational basis for
16   enacting the ordinance; in this context equal protection requires nothing more. Plaintiffs’
17   constitutional and statutory claims are legally infirm, and, as a matter of law, warrant dismissal
18   with prejudice.
19      A. The Ordinance is a valid exercise of the City’s police powers.
20
            Plaintiffs’ contentions depend, in part, on a hollow interpretation of the City’s power to
21
     pass laws to protect public health, safety, and general welfare. Plaintiffs’ statutory and
22
     constitutional claims are rooted in a deep misunderstanding of long settled law establishing the
23
     City’s robust power to regulate working conditions, exercised here in the context of the global
24
     COVID-19 pandemic. The City’s authority to protect the community supersedes Plaintiffs’
25
     private contracts for labor and is entitled to significant deference with respect to the scope of that
26


     MOTION TO DISMISS– Page 5 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 13 of 32




 1   authority. See Sections IV.B-E, infra. The Court should reject Plaintiffs’ invitation to

 2   undermine the City’s mandate to act in the public interest.

 3          1. The City’s police powers allow regulation of working conditions in the City.

 4          Under the Washington State Constitution’s “home rule” principles, cities and counties
 5   exercise much of the state’s power. See Wash. Const. Art. XI, § 11 (cities and counties are
 6   empowered to “make and enforce within [their] limits all such local police, sanitary and other
 7   regulations as are not in conflict with general laws”). Accordingly, “[m]unicipal police power is
 8   as extensive as that of the legislature, so long as the subject matter is local and the regulation
 9   does not conflict with general laws.” Covell v. City of Seattle, 127 Wash.2d 874, 878 (1995),
10   abrogated on other grounds by Yim v. City of Seattle, 194 Wash.2d 651 (2019) (quoting Hillis
11   Homes, Inc. v. Snohomish County, 97 Wash.2d 804, 808 (1982)). And this power “not only
12   extends to enactments designed to protect and promote public peace, health, morals, and safety,
13   but also to those intended to promote the general public welfare and prosperity.” City of Tacoma
14   v. Fox, 158 Wash. 325, 330-331 (1930); see Velasquez-Rios v. Barr, 979 F.3d 690, 697 (9th Cir.
15   2020) (acknowledging that “the states’ police powers are broad” relating to “to public health,
16   safety, and welfare” so long as state laws do not violate the federal Constitution”).
17          The City’s police powers clearly permit the regulation of working conditions. “In dealing
18   with the relation of employer and employed, the [State] has necessarily a wide field of discretion
19   in order that there may be suitable protection of health and safety, and that peace and good order
20   may be promoted through regulations designed to insure wholesome conditions of work and
21   freedom from oppression.” West Coast Hotel Co. v. Parrish, 300 U.S. 379, 393 (1937); see RUI
22   One Corp. v. City of Berkeley, 371 F.3d 1137, 1150 (9th Cir. 2004) (“[t]he power to regulate
23   wages and employment conditions lies clearly within a state’s or a municipality’s police
24   power”). This discretion is reflected in governmental authority to set “minimum and other wage
25   laws,” prohibit child labor, set occupational safety and health standards, require contributions to
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     MOTION TO DISMISS– Page 6 of 24                                                           Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 14 of 32




 1   unemployment and workers’ compensation funds, proscribe state holidays, and require pay for

 2   time spent on jury duty or at the polls. Metro. Life Ins. Co. v. Massachusetts, 471 U.S. 724, 756

 3   (1985) (citations omitted); see Alaska Airlines Inc. v. Schurke, 898 F.3d 904, 919 (9th Cir. 2018)

 4   cert. denied 130 S.Ct. 1445 (2019) (“Setting minimum wages, regulating work hours and pay

 5   periods, requiring paid and unpaid leave, protecting worker safety, prohibiting discrimination in

 6   employment, and establishing other worker rights remains well within the

 7   traditional police power of the states…”). 9 Laws establishing minimum payments for workers,

 8   like the one at issue here, “protect workers from the harmful effects of low wages and long

 9   hours.” Martinez-Cuevas v. DeRuyter Bros. Dairy, Inc., 196 Wash.2d 506, 532 (2020) (citing,

10   inter alia, Parrish v. W. Coast Hotel Co., 185 Wash. 581, 587-89 (1936), aff'd, 300 U.S. 379

11   (1937)). The authority to set a minimum compensation amount for grocery employees lies well

12   within the scope of the City’s police powers.

13          2. The City’s police powers are at their maximum to address emergencies like the
               COVID-19 public health crisis.
14

15          The City’s police powers, already more than sufficient to regulate rates of pay at

16   workplaces in the City, are even greater in the context of the ongoing public health catastrophe.

17   More than a century ago, in Jacobson v. Commonwealth of Massachusetts, the United States
18
     Supreme Court recognized that public health emergencies necessarily enlarge the scope of the
19
     state’s police powers. 197 U.S. 11 (1905). Upholding a local ordinance compelling citizens to
20
     be vaccinated to address a smallpox outbreak or face imprisonment over a variety of
21

22

23   9
      Washington courts have approved use of police powers to set minimum wages, Filo Foods,
     LLC v. City of SeaTac, 183 Wash.2d 770 (2015), set maximum hours, State v. Buchanan, 29
24   Wash. 602 (1902), outlaw employment discrimination, Seattle Newspaper-Web Pressmen's
25   Union Local No. 26 v. City of Seattle, 24 Wash. App. 462 (1979), and set maximum fees charged
     by employment agencies. Petstel, Inc. v. King Cty., 77 Wash.2d 144 (1969).
26


     MOTION TO DISMISS– Page 7 of 24                                                        Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                   Seattle City Attorney
                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                         Seattle, WA 98104-7095
                                                                                             (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 15 of 32




 1   constitutional challenges, the Court first noted that general, non-emergency police powers permit

 2   governments “to enact quarantine laws and ‘health laws of every description’” Id. at 30. And
 3
     when there is a public health emergency, the right “to determine for all what ought to be done” is
 4
     properly lodged with political decision makers rather than courts. In reviewing the exercise of
 5
     emergency police powers, “it is no part of the function of a court” to second guess a
 6
     determination as to what method is “likely to be the most effective for the protection of the
 7

 8   public against disease.” Id.

 9          This is true, even if it results in restrictions of constitutional rights. “‘Under the pressure
10   of great dangers,’ constitutional rights may be reasonably restricted ‘as the safety of the general
11
     public may demand.’” In re Abbott, 954 F.3d 772, 778 (5th Cir. 2020) (alterations
12
     removed)(quoting Jacobson 197 U.S. at 29) (upholding state limitations on access to abortion
13
     during the COVID-19 pandemic under the “settled rule” announced in Jacobson). Courts have
14

15   repeatedly applied Jacobson’s formulation of the scope of emergency police powers regulating

16   business activities in the context of the current pandemic. 10 As the Eastern District of

17   Washington recently concluded, “the growing consensus of district courts” is “that constitutional
18
     challenges to… COVID-19 related measures [regulating business activities] are precluded by
19
     Jacobson.” Slidewaters LLC v. Wash. Dep't of Labor & Indus., No. 20-CV-210-TOR, 2020 WL
20

21   10
        See, e.g., In re Rutledge, 956 F.3d 1018, 1028 (8th Cir. 2020) (upholding a State ban on
22   surgical procedures over constitutional challenges, remarking “[i]n our analysis, we must take
     care not to ‘usurp the functions of another branch of government,’”) (quoting Jacobson, 197 U.S.
23   at 28); Alsop v. Desantis, 2020 WL 4927592, at *2 (M.D. Fla. 2020) (slip op.) (orders restricting
     vacation rentals in response to COVID-19 involve no suspect classes and “are [therefore] subject
24   to rational-basis review. And because [the orders are] in response to a public health emergency,
25   [they] enjoy[] an ‘especially broad’ latitude.”) (quoting S. Bay United Pentecostal Church v.
     Newsom, 140 S.Ct. 1613 (2020)).
26


     MOTION TO DISMISS– Page 8 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 16 of 32




 1   3130295 (E.D. Wash. June 12, 2020) (slip copy); see 2020 WL 3979661 (E.D. Wash. July 14,

 2   2020) (order from the court denying preliminary and permanent injunction against Governor’s
 3
     Order closing certain businesses in response to the COVID-19 pandemic).
 4
            The Council determined that grocery employees covered by the Ordinance are workers
 5
     essential to providing safe access to food during the pandemic, that hazard pay is essential to
 6
     retaining these critical workers, and that hazard pay improves the financial ability of those
 7
     employees to access the resources they need to stay safe and healthy. Ordinance, Section 1, F,
 8
     JJ. Set against the context of the global pandemic, the City’s police powers unquestionably
 9
     reach the requirement to provide hazard pay to grocery employees.
10
            3. Plaintiffs’ allegation that the Ordinance was supported by a labor union does
11             not negate its fundamental purpose to protect public health, safety, and welfare.
12
            Plaintiffs assert that the Ordinance is “interest group driven legislation” for labor unions,
13
     including the United Farm and Commercial Workers (“UFCW”). Accordingly, Plaintiffs imply
14
     that the Ordinance is not legislation enacted to protect public safety, health, or welfare, and
15
     therefore does not survive constitutional scrutiny or NLRA preemption. E.g., Complaint at ¶¶
16
     36,44. Plaintiffs have alleged that (1) many of their members have collective bargaining
17
     agreements with some of their employees (Complaint at ¶ 15), (2) UFCW has been active in
18
     seeking additional pay for grocery employees it represents (id. at ¶ 17), and (3) the Ordinance
19
     applies to large grocery stores that have some measure of unionization among their employees
20
     (id.). These assertions do not support an inference that the Ordinance, applicable to both union
21
     and non-union employers and employees, was special interest legislation masquerading as an
22
     exercise of the City’s police power. This is particularly true in light of the Ordinance’s plainly
23
     stated goals and externally supported findings explaining that the Ordinance is intended to serve
24
     the public interest in protecting grocery employees and ensuring safe access to food. Indeed, “in
25
     reviewing economic and social regulation [to determine if it is for a public purpose]… courts
26


     MOTION TO DISMISS– Page 9 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
               Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 17 of 32




 1   properly defer to legislative judgment….” U.S. Tr. Co. of New York v. New Jersey, 431 U.S. 1,

 2   22–23 (1977) (citing East New York Savings Bank v. Hahn, 326 U.S. 230 (1945)).

 3            At best, Plaintiffs have alleged that their view of the appropriate response to the ills

 4   addressed by the Ordinance was not adopted by the City. This complaint is, at its heart, a

 5   political one; Plaintiffs should “resort to the polls, not to the courts” to obtain the relief they

 6   seek, rather than inviting this Court to supplant the City’s legislative choices. Williamson v. Lee

 7   Optical of Oklahoma Inc., 348 U.S. 483, 488 (1955) (quotation marks omitted) (quoting Munn v.

 8   People of State of Illinois, 94 U.S. 113, 134 (1876)).

 9         B. The Ordinance, like other police power regulations generally applicable to the
              workplace, are not preempted by the NLRA.
10
              1.   Valid exercises of the City’s police powers are presumed not preempted.
11

12            Plaintiffs’ contention that the Ordinance is preempted by the NLRA is baseless.

13   Complaint at ¶¶ 23-31. All federal preemption cases are guided by two core principles: (1) “the

14   purpose of Congress is the ultimate touchstone in every pre-emption case” and (2) “the

15   assumption that the State’s historic police powers are not preempted” absent Congress’ “clear

16   and manifest purpose” to preempt the exercise of those powers. Lusnak v. Bank of Am., N.A.,

17   883 F.3d 1185, 1191 (9th Cir. 2018) (citations and internal quotation marks omitted). Given the

18   States’ traditional role in regulating workplace conditions, “[p]re-emption of employment

19   standards ‘within the traditional police power of the State’ ‘should not be lightly inferred.’”

20   Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 252 (1994) (quoting Fort Halifax Packing Co. v.

21   Coyne, 482 U.S. 1, 21 (1987). This “approach is consistent with both federalism concerns and

22   the historic primacy of state regulation of matters of health and safety.” Medtronic, Inc. v. Lohr,

23   518 U.S. 470, 485 (1996). The City’s regulation of working conditions, through its police

24   powers, must be presumed not to be preempted.

25   ///

26   ///


     MOTION TO DISMISS– Page 10 of 24                                                           Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                       Seattle City Attorney
                                                                                   701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                             Seattle, WA 98104-7095
                                                                                                 (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 18 of 32




 1          2. Substantive state labor standards are not preempted by the NLRA.

 2          Federal protections for collective bargaining do not preempt local police power
 3   regulations of working conditions. The NLRA has no express preemption clause. Bldg. & Const.
 4   Trades Council of Metro. Dist. v. Associated Builders & Contractors of Massachusetts/Rhode
 5   Island, Inc., 507 U.S. 218, 224 (1993). Rather, courts infer preemption of (1) laws that impair the
 6   National Labor Relations Board’s primary jurisdiction to determine what activities are allowed
 7   or forbidden by the NLRA and (2) laws that regulate conduct, neither permitted nor prohibited
 8   by the NLRA, where the conduct nonetheless constitutes economic self-help for employers or
 9   employees. Metro Life Ins. Co., 471 U.S. at 748-749. Plaintiffs have not, and cannot, allege that
10   the Ordinance impairs the jurisdiction of the Board, as it does not establish forbidden or
11   permitted collective bargaining activities. Id. at 748; see Wisconsin Dep't of Industry v. Gould,
12   Inc., 475 U.S. 282, 286 (1986) (under the first prong of NLRA preemption, “[s]tates may not
13   regulate activity that the NLRA protects, prohibits, or arguably protects or prohibits” ).
14          Plaintiffs’ allegations focus on an alleged impairment of an alleged “free-play of
15   economic forces.” Complaint at ¶ 25 (citing Machinists v. Wisconsin Employment Relations
16   Comm’n, 427 U.S. 132 (1976)). The preemptive effect of the NLRA in this sense is based on 29
17   U.S.C. §§ 157-158, which is “concerned primarily with establishing an equitable process for
18   determining terms and conditions of employment.” Metro Life Ins. Co., 471 U.S. at 753
19   (emphasis supplied). Indeed, to assess the scope of this type of preemption the Supreme Court
20   noted that “[t]he evil Congress was addressing [under 29 U.S.C. §§ 157-158] was entirely
21   unrelated to local or federal regulation establishing minimum terms of employment.” Id. at 754
22   (emphasis added).
23          Under the Machinists approach to NLRA preemption, the Supreme Court and the Ninth
24   Circuit repeatedly have held that substantive state labor standards, applicable to union and non-
25   union employers and employees, are not preempted by the NLRA. See, e.g., Fort Halifax, 482
26


     MOTION TO DISMISS– Page 11 of 24                                                        Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                    Seattle City Attorney
                                                                                701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                          Seattle, WA 98104-7095
                                                                                              (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 19 of 32




 1   U.S. at 20-22; National Broadcasting Co. v. Bradshaw, 70 F.3d 69 (9th Cir. 1995); Viceroy Gold

 2   Corp. v. Aubry, 75 F.3d 482 (9th Cir. 1996). As the Supreme Court explained:

 3          [i]t never has been argued successfully that minimal labor standards imposed by
            other federal laws were not to apply to unionized employers and employees.
 4          See, e.g., Barrentine v. Arkansas-Best Freight System, Inc., 450 U.S. 728, 737…
            (1981) [holding that wage rights under the FLSA apply to union members
 5
            regardless of collective bargaining rights]. …. Nor has Congress ever seen fit to
 6          exclude unionized workers and employers from laws establishing federal minimal
            employment standards. We see no reason to believe that for this purpose
 7          [preemption] Congress intended state minimum labor standards to be treated
            differently from minimum federal standards.
 8
     Metro Life Ins. Co., 471 U.S. at 755. The Court found that “[m]inimum state labor standards
 9
     affect union and nonunion employees equally, and neither encourage nor discourage the
10
     collective-bargaining processes that are the subject of the NLRA. Nor do they have any but the
11
     most indirect effect on the right of self-organization established in the Act.” Id. Such labor
12
     standards are “not laws designed to encourage or discourage employees in the promotion of their
13
     interests collectively;” instead, laws, like minimum wage laws “are in part ‘designed to give
14
     specific minimum protections to individual workers and to ensure that each employee covered
15
     by the Act would receive’ the mandated” benefit. Id. (quoting Barrentine, 450 U.S. at 739).
16
            Fort Halifax is particularly instructive. There, the Court rejected an NLRA preemption
17
     challenge to a Maine law that required severance pay for workers terminated because of a plant
18
     closing. 482 U.S. at 4. The employer argued that the law was preempted because the
19
     substantive requirement for severance pay undercut its ability to negotiate over a union demand
20
     for severance pay. Id. at 20. The Court squarely rejected this contention, holding that the law
21
     provided protections to individual union and nonunion workers alike, and thus neither
22
     encouraged nor discouraged the collective-bargaining processes that are subject to the NLRA.
23
     Id. at 21-22; see also Metro Life Ins. Co., 471 U.S. at 747-750 (rejecting an NLRA preemption
24
     challenge to a state law that mandated inclusion of mental health benefits in employer benefit
25
     plans on the same basis). Ultimately, the Fort Halifax court concluded that “there is nothing in
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     MOTION TO DISMISS– Page 12 of 24                                                       Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                   Seattle City Attorney
                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                         Seattle, WA 98104-7095
                                                                                             (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 20 of 32




 1   the NLRA . . . which expressly forecloses all state regulatory power with respect to those issues .

 2   . . that may be the subject of collective bargaining.” Fort Halifax, 482 U.S. at 21-22. Likewise

 3   here, the Ordinance applies to union and non-union employees, and is therefore neutral toward

 4   the bargaining process and not preempted by the NLRA.

 5          3. State and local laws regulating rates of pay are not preempted by the NLRA.

 6           State and local laws regulating rates of pay are quintessential examples of state minimum
 7   labor standards that are not preempted by the NLRA. See National Broadcasting Co., 70 F.3d at
 8   70-71 (upholding a state law requiring premium pay for overtime hours and emphasizing that
 9   “such minimum benefit protections have repeatedly survived Machinists preemption
10   challenges”); Babler Bros., Inc. v. Roberts, 995 F.2d 911 (9th Cir. 1993) (upholding a similar
11   premium pay law to National Broadcasting Co. in Oregon, concluding that the state was not
12   regulating the bargaining relationship); see also Barrentine, 450 U.S. at 745.
13          The Ninth Circuit has unequivocally held that local laws setting minimum compensation
14   standards are not preempted by the NLRA. In Am. Hotel and Lodging Association v. City of Los
15   Angeles, the Ninth Circuit held that a Los Angeles living wage ordinance was not preempted by
16   the NLRA, because the ordinance was a minimum labor standard that fell within the ambit of
17   state power. 834 F.3d 958, 963 (9th Cir. 2016). It found that “by providing basic minimum
18   wage and time-off compensation, the ordinance altered the backdrop of negotiations, not the
19   mechanics of collective bargaining.” Id. (emphasis supplied). The court held that “such
20   minimum labor standards affect union and nonunion employees equally, neither encouraging nor
21   discouraging…collective bargaining processes…[T]hese standards are not preempted.” Id.
22          The City’s Ordinance—like the Los Angeles living wage law in Am. Hotel—is not, as a
23   matter of law, preempted under the NLRA. It is irrelevant to the NLRA preemption analysis that
24   impacted grocers may be subject to indirect pressure by the City’s Ordinance because the law
25   gives workers something that they might otherwise have sought in bargaining. See National
26


     MOTION TO DISMISS– Page 13 of 24                                                       Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                   Seattle City Attorney
                                                                               701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                         Seattle, WA 98104-7095
                                                                                             (206) 684-8200
              Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 21 of 32




 1   Broadcasting Co., 70 F.3d at 72; Am. Hotel, 834 F.3d at 963. Ordinances may alter the context of

 2   negotiations, and even weaken bargaining positions for employers. That is not enough to prompt

 3   NLRA preemption.11

 4           Plaintiffs cannot overcome the presumption against NLRA preemption under the City’s

 5   valid use of its police powers; and the Ordinance does not, as a matter of law, improperly

 6   interject the City into the collective bargaining process. At its core, the Ordinance is a minimum

 7   compensation law of general applicability. The City’s police power legislation is not preempted

 8   by the NLRA, and Plaintiffs’ claims should be dismissed.

 9        C. The Ordinance does not unconstitutionally impair Plaintiffs’ members’ contracts.

10           Plaintiffs allege that the Ordinance is unconstitutional on the basis that it “substantially
11   interferes with [their m]embers’ contracts, including its [sic] collective bargaining agreements
12   with its employees” and so violates Washington State and federal constitutional protections
13   against the impairment of contracts. Complaint at ¶¶ 44, 48. Because this is incorrect as a
14   matter of law, Plaintiffs fail to state a claim upon which relief may be granted.
15           1. Private contracts for labor do not supersede governmental protections of public
                safety, health, and welfare.
16

17           As discussed at length above, the City properly exercised its police powers in enacting

18   the Ordinance. Such an exercise of the City’s authority to protect public safety, health, and

19   welfare cannot be swept aside by private contracts for labor. As the Supreme Court held in the

20
     11
       Plaintiffs cannot rely on Chamber of Commerce v. Bragdon, 64 F.3d 497 (9th Cir. 1995) to
21
     support their preemption argument. There, the Ninth Circuit held that the NLRA preempted a
22   county ordinance that set prevailing wages solely by reference to a collective bargaining
     agreement. Id. However, Bradgon’s holding has been narrowly applied to its set of facts.
23   Associated Builders & Contrs. of S. Cal. v. Nunn, 356 F.3d 979, 990, 991, fn. 8 (9th Cir. 2004)
     (“Bragdon must be interpreted in the context of Supreme Court authority and our other, more
24   recent rulings on NLRA preemption.”). The City’s Ordinance does not dictate private employers’
25   wages by exclusively tying them to a third-party collectively bargained agreement, so Bragdon
     has no application here.
26


     MOTION TO DISMISS– Page 14 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
               Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 22 of 32




 1   seminal Parrish decision: “[t]his power under the Constitution to restrict freedom of contract

 2   has had many illustrations. That it may be exercised in the public interest with respect to

 3   contracts between employer and employee is undeniable.” Parrish, 300 U.S. at 392. Even in

 4   1937, courts applying this principle sustained police power statutes limiting hours worked,

 5   preventing the use of company scrip to pay employees, preventing limitations on liability for

 6   workplace injuries, and maintaining workers’ compensation systems. Id., at 392-393 (collecting

 7   cases).

 8             Indeed, the contracts clauses for the Washington State and federal constitutions 12 have

 9   long been interpreted to accommodate police power laws. 13 “[T]he prohibition against any

10   impairment of contracts is ‘not an absolute one and is not to be read with literal exactness.’”

11   Tyrpak v. Daniels, 124 Wash.2d 146, 151 (1994) (quoting Home Bldg. & Loan Ass’n v.

12   Blaisdell, 290 U.S. 398, 428 (1934)). The “governing constitutional principle” for contracts

13   clause challenges is:

14             when a widely diffused public interest has become enmeshed in a network of
               multitudinous private arrangements, the authority of the State “to safeguard the
15             vital interests of its people,” . . . is not to be gainsaid by abstracting one such
               arrangement from its public context and treating it as though it were an isolated
16
               private contract constitutionally immune from impairment.
17
     Hahn, 326 U.S. at 232, 234 (quoting Blaisdell, 209 U.S. at 434). Following this precept, the
18
     contract clause “prohibition must be accommodated to the inherent police power of the State,”
19
     Energy Reserves Group, Inc. v. Kan. Power and Light Co., 459 U.S. 400, 410 (1983),14
20
     safeguarding the vital interests of the people, because such police powers are “paramount to any
21

22
     12
        U.S. Const., Art. I, §10 (prohibiting states from passing “any… law impairing the obligations
23   of contracts…”); Wash. Const. Art. I, § 23 (providing that “[n]o… law impairing the obligations
     of contracts…” may be enacted).
24   13
        Washington courts interpret Wash. Const. Art. I, § 23 to provide identical protections to U.S.
25   Const. Art. I, §10. In re Estate of Hambleton, 181 Wash.2d 802, 830 (2014).
     14
        See Hambleton, 181 Wash.2d at 830 (quoting Energy Reserves) (same).
26


     MOTION TO DISMISS– Page 15 of 24                                                         Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
               Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 23 of 32




 1   rights under contracts between individuals.” Allied Structural Steel Co. v. Spannaus, 438 U.S.

 2   234, 241 (1978).

 3             Set against the backdrop of public interest limitations on the private right of contract,

 4   Plaintiffs fail to state a claim for a contracts clause violation. The Supreme Court has been clear

 5   that contracts clause analyses require a two-step process. First, the plaintiff must meet a

 6   threshold requirement to show a “substantial impairment” of their contracts caused by the

 7   challenged law; without this impairment, their claim cannot survive. Energy Reserves, 459 U.S.

 8   at 411; Spannaus, 438 U.S. at 242.15 If a plaintiff shows substantial impairment of a contract,

 9   they must also show that the challenged law has no “significant and legitimate” public purpose to

10   prevail, and that the method of adjusting the rights of the contracting parties is not appropriate to

11   that purpose. Energy Reserves, at 411-412. Here, Plaintiffs have not alleged a substantial

12   impairment of their contracts. And, even if they had, the Ordinance reflects significant,

13   legitimate, public interest, justly addressed.

14             2. The Ordinance does not substantially impair any contract.

15             Plaintiffs’ members’ contracts are not “substantially impaired” by the Ordinance as a
16   matter of law. There can be no substantial impairment if the contract is for an “activity ‘already
17   regulated in the particular [way] to which [the contracting party] now objects’” because the
18   contracting party “is deemed to have contracted ‘subject to further legislation upon the same
19   topic.’” Margola Associates v. City of Seattle, 121 Wash.2d 625, 653 (1993) abrogated on other
20   grounds by Yim, 194 Wash.2d 651 (alterations in the original) (quoting Veix v. Sixth Ward Bldg.
21   & Loan Ass’n, 310 U.S. 32, 38 (1940)); see Energy Reserves, 459 U.S. at 411 (quoting Hudson
22   Water Co. v. McCarter, 209 U.S. 349, 357 (1908)) (“[t]he Court long ago observed: ‘One whose
23   rights, such as they are, are subject to state restriction, cannot remove them from the power of the
24

25   15
          Optimer Int'l, Inc. v. RP Bellevue, LLC, 151 Wash.App. 954, 965 (2009) (same).
26


     MOTION TO DISMISS– Page 16 of 24                                                           Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                       Seattle City Attorney
                                                                                   701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                             Seattle, WA 98104-7095
                                                                                                 (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 24 of 32




 1   State by making a contract about them’”). 16 Plaintiffs’ members’ are already subject to extensive

 2   workplace regulations,17 including wage regulations under the Fair Labor Standards Act (29

 3   U.S.C. §§ 201 et seq.), the State Minimum Wage Act (Rev. Code Wash. 49.46 et seq.), and the

 4   Seattle Minimum Wage Ordinance (Seattle Mun. Code 14.19). See, e.g., Albertson's, Inc. v.

 5   United Food & Commercial Workers Union, AFL-CIO & CLC, 157 F.3d 758, 761 (9th Cir.

 6   1998) (recognizing grocery employees’ rights under the FLSA as distinct from their rights under

 7   a collective bargaining agreement). Regardless of the contracts Plaintiffs’ members have for

 8   labor, those contracts were entered into in the context of minimum compensation standards and

 9   are “subject to future legislation upon the same topic.” Veix, 310 U.S. at 38. Plaintiffs fail to

10   satisfy the threshold requirement of their claim, and so no relief may be granted.

11          3. The Ordinance has a significant and legitimate public purpose, justly achieved.

12          Even if Plaintiffs had properly alleged that the Ordinance constitutes a substantial
13   impairment to their members’ contracts, there is no violation of the contract clauses, because the
14   Ordinance has a significant and legitimate public purpose, accomplished by reasonable means.
15   Here, the Ordinance reflects a significant, legitimate, public interest; both the City and Plaintiffs
16   agree that the health and safety of grocery employees is essential to combatting the spread of
17

18
     16
        See Optimer, 151 Wash. App. at 966 (“legislation does not unconstitutionally impair
19   contractual obligations where the legislation constitutes an exercise of the police power in
     advancing a legitimate public purpose”); see also Section IV.A supra.
20   17
        Grocery stores “operat[e] in a heavily regulated industry” and so further workplace laws
     cannot be said to substantially impair their contracts. Energy Reserves, 459 U.S. at 413 (natural
21
     gas producers did not have their contracts impaired because “State authority to regulate natural
22   gas prices is well established” even though the State had never before regulated those prices); see
     Margola Assocs, 121 Wash.2d at 653 (holding the City’s new restrictions on evictions did not
23   violate the contracts clause because the the landlord tenant relationship was already regulated);
     see also Gen. Offshore Corp. v. Farrelly, 743 F. Supp. 1177, 1198 (D.V.I. 1990) (finding
24   working conditions were heavily regulated as defined by Energy Reserves, because
25   “[o]ccupational safety, collective bargaining, minimum wages, worker's compensation, and other
     areas of legislation have left few aspects of the workplace unregulated”).
26


     MOTION TO DISMISS– Page 17 of 24                                                         Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 25 of 32




 1   COVID-19, and that one way to address their health and safety is to ensure that they are paid

 2   hazard pay. See Complaint at ¶¶ 2-4 (describing the critical role of grocery employees in

 3   combating the pandemic, grocery stores’ payment of hazard pay, and an acknowledgement that

 4   grocery workers are essential to the pandemic response); see also Ordinance, Section 1, B, F, W,

 5   X, GG, HH-JJ (identifying grocery employees as essential workers, who play a vital role in

 6   combating the pandemic and who deserve hazard pay). The effort to protect workers and the

 7   public from a pandemic is the very definition of a public purpose.

 8          Further, though no emergency is required (Energy Reserves, 459 U.S. at 412), the fact

 9   that the City is responding to an emergency, with temporary legislation, also forecloses

10   Plaintiffs’ challenge. See, e.g., Blaisdell, 290 U.S. 444-447 (finding a Minnesota foreclosure

11   moratorium did not violate the Contracts Clause because, inter alia, it was a response to the

12   emergency created by the Great Depression, and it was temporary, tied to the duration of the

13   emergency).

14          Finally, in analyzing the means of accomplishing this significant, legitimate purpose,

15   “[u]nless the State itself is a contracting party . . . courts properly defer to legislative judgment

16   as to the necessity and reasonableness of a particular measure.” Id. at 412-413; see U.S. Tr. Co.

17   of New York, 431 U.S. at 22-23 (same) (citing Hahn, 326 U.S. 230);18 see also Ass’n of

18

19
     18
        The Supreme Court aptly summarized the issue with invading legislative determinations of
20   this kind in the Hahn case. There, rejecting a contracts clause challenge to a state law forbidding
     foreclosures in response to the Great Depression (still in effect in 1944), the Court identified the
21
     many factual determinations it would be required to make about “not only the range and
22   incidence of what are claimed to be determining economic conditions… but also to resolve
     controversy as to the causes and continuity of such [economic] improvements….” Hahn, 326
23   U.S. at 234. The Court properly recognized that “[m]erely to enumerate the elements that have
     to be considered shows that the place for determining their weight and their significance is the
24   legislature not the judiciary.” Id.
25

26


     MOTION TO DISMISS– Page 18 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 26 of 32




 1   Surrogates & Supreme Court Reporters Within City of New York v. State of N.Y., 940 F.2d 766,

 2   771 (2nd Cir. 1991) (“legislation which impairs the obligations of private contracts is tested

 3   under the contract clause by reference to a rational-basis test”) (emphasis in the original); see

 4   also Chicago Bd. of Realtors, Inc. v. City of Chicago, 819 F.2d 732, 737 (7th Cir. 1987) (where

 5   government is not a party, courts assess whether the government adopted a law that it “rationally

 6   could have believed would lead to improved public health and welfare”). As discussed below,

 7   there is no question that the Ordinance’s chosen method of addressing the public purpose

 8   satisfies the rational basis test. See Section IV.D.2, infra. Providing hazard pay to grocery store

 9   employees compensates employees for their increased risk of infection, improves retention of

10   these employees, ensures that they can better afford the resources they need to stay healthy and

11   prevent transmission, and helps ensure continued community access to food and other essential

12   goods. Id. In the context of the current global pandemic, Plaintiffs’ failure to show “a plain,

13   palpable invasion” of constitutional rights, shown “beyond all question” dooms this allegation.

14   Jacobson, 197 U.S. at 30

15      D. The Ordinance, rationally related to proper legislative goals, does not violate equal
           protection guarantees.
16
            Plaintiffs’ contention that the Ordinance violates constitutional equal protection
17
     guarantees is meritless. Complaint at ¶¶ 32-41. The Ordinance does not employ suspect
18
     classifications, and, contrary to Plaintiffs’ contentions, it does not burden fundamental rights. As
19
     such, it is subject to the highly deferential “rational basis” standard—a hurdle it easily clears.
20
            1. The Ordinance is subject to, at most, a rational basis review.
21

22          Plaintiffs do not contend, nor could they, that the Ordinance employs suspect

23   classifications. See generally Complaint. Plaintiffs instead attempt to invoke strict scrutiny of

24   their equal protection challenges by alleging that the Ordinance impinges on fundamental rights

25   in burdening Plaintiffs’ right to contract. Id. at ¶ 35. Not so.

26          For purposes of an equal protection analysis, fundamental rights include such deeply


     MOTION TO DISMISS– Page 19 of 24                                                         Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 27 of 32




 1   cherished rights as the right to vote and the right to procreate. See Massachusetts Bd. of

 2   Retirement v. Murgia, 427 U.S. 307, 312 n. 3 (1976) (per curiam) (citing Roe v. Wade, 410 U.S.

 3   113 (1973) (right of uniquely private nature); Bullock v. Carter, 405 U.S. 134 (1972) (right to

 4   vote); Shapiro v. Thompson, 394 U.S. 618 (1969) (right to interstate travel); William v. Rhodes,

 5   393 U.S. 23 (1968) (First Amendment Rights); Skinner v. Oklahoma ex rel. Williamson, 316

 6   U.S. 535 (1942) (right to procreate)).

 7          In contrast, “freedom of contract is a qualified, and not an absolute, right[;]” “there is no

 8   absolute freedom to do as one wills or to contract as one chooses.” Parrish, 300 U.S. at 392

 9   (1937); accord Blaisdell, 290 U.S. at 428 (“prohibition [on impairment of contracts] is not an

10   absolute one and is not to be read with literal exactness like a mathematical formula”); Nebbia v.

11   People of State of New York, 291 U.S. 502, 523 (1934) (“neither property nor contract rights are

12   absolute, for government cannot exist if the citizen may at will use his property to the detriment

13   of his fellows”). Even if courts recognized “a fundamental right to be free from unreasonable

14   governmental interference with . . . contracts,” Complaint at ¶ 35, the Ordinance interferes with
15   no such right, as explained in section IV.C, supra.

16          The City is not aware of a single case where a court has applied strict scrutiny to an equal

17   protection claim based on a purported interference with contracts, and at least one circuit court

18   has rejected such an invitation. United States v. Williams, 124 F.3d 411, 422 (3rd Cir. 1997)

19   (citing Williamson, 348 U.S. at 489) (holding that strict scrutiny in equal protection context was

20   not “justified on the ground that [the challenged] provision affects the defendants’ right to enter

21   into contracts”); see also Etere v. City of New York, No. 08-CV-2827, 2009 WL 498890 at *2

22   (S.D.N.Y. Feb. 24, 2009) (“[t]o the extent that Plaintiff relies on that portion of Article I, section

23   10 prohibiting laws impairing the obligation of contracts, he evokes the language in Lochner v.

24   New York, 198 U.S. 45 (1905). The Court now uses rational basis review for economic

25   regulation, however, and no longer views liberty of contract as a fundamental right”).

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     MOTION TO DISMISS– Page 20 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 28 of 32




 1          Instead, “the proper test for judging the constitutionality of statutes regulating economic

 2   activity challenged on equal protection grounds is whether the legislation bears a rational

 3   relationship to a legitimate state interest.” Jackson Water Works, Inc. v. Public Utilities Comm’n

 4   of State of Cal., 793 F.2d 1090, 1093-94 (9th Cir. 1986). In cases challenging minimum

 5   compensation legislation on equal protection grounds, the Ninth Circuit has routinely applied

 6   rational basis review. E.g., Int’l Franchise Ass’n v. City of Seattle, 803 F.3d 389, 407 (9th Cir.

 7   2015) (recognizing that rational basis review applied to an equal protection challenge to the

 8   City’s minimum wage ordinance and affirming district court’s application of rational basis

 9   standard, upholding the law); RUI One Corp., 371 F.3d at 1154 (applying rational basis review

10   to an equal protection claim, notwithstanding a concurrent Contract Clause claim, because “this

11   case involves social and economic policy and neither targets a suspect class nor impinges upon a

12   fundamental right”) (quotation marks omitted).

13          Here, the proper test is even more deferential to legislative choices. The Ordinance was

14   enacted in the context of a global health crisis. Under Jacobson, in the absence of “a plain,

15   palpable invasion” of constitutional rights, shown “beyond all question” Plaintiffs cannot prevail.

16   Jacobson, 197 U.S. at 30; see Section IV.A.2. supra.

17          2. The Ordinance easily survives review.

18          It is beyond dispute that the Ordinance satisfies rational-basis review—the “most relaxed
19   and tolerant form of judicial scrutiny under the Equal Protection Clause.” Dallas v. Stanglin, 490
20   U.S. 19, 26 (1989).19 As the Supreme Court has recognized, “[s]ocial and economic legislation”
21   that does not concern a suspect class or fundamental right
22

23   19
       Rational basis review “is a paradigm of judicial restraint.” F.C.C. v. Beach Communications,
     Inc., 508 U.S. 307, 314 (1993). “The Constitution presumes that, absent some reason to infer
24   antipathy, even improvident decisions will eventually be rectified by the democratic process and
25   that judicial intervention is generally unwarranted no matter how unwisely we may think a
     political branch has acted.” Vance v. Bradley, 440 U.S. 93, 97 (1979) (footnote omitted).
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     MOTION TO DISMISS– Page 21 of 24                                                        Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                    Seattle City Attorney
                                                                                701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                          Seattle, WA 98104-7095
                                                                                              (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 29 of 32




 1           carries with it a presumption of rationality that can only be overcome by a clear
             showing of arbitrariness and irrationality. …. [S]ocial and economic legislation is
 2           valid unless the varying treatment of different groups or persons is so unrelated to
             the achievement of any combination of legitimate purposes that [a court] can only
 3
             conclude that the legislature’s actions were irrational.
 4
     Hodel v. Indiana, 452 U.S. 314, 331-32 (1981). Under this deferential standard, a law will
 5
     survive scrutiny “if there is any reasonably conceivable state of facts that could provide a
 6
     rational basis for the classification.” F.C.C., 508 U.S. at 313. “It is entirely irrelevant for
 7
     constitutional purposes whether the conceived reason for the challenged distinction actually
 8
     motivated the legislature.” Id. at 315. Any plausible basis suffices, id., even if it did not
 9
     underlie the legislative action, and even if no party raised that basis in its arguments. Kadrmas
10
     v. Dickinson Pub. Schs., 487 U.S. 450, 463 (1988).20
11
              Legislatures are given considerable latitude where they “must necessarily engage in a
12
     process of line drawing.” F.C.C., 508 U.S. at 313 (internal quotation marks and citation
13
     omitted). The legislature’s placement of those “who have an almost equally strong claim to
14
     favored treatment. . . on different sides of the line” does not offend equal protection guarantees.
15
     Id. at 315-16 (internal quotation marks and citation omitted). “Evils in the same field may be of
16
     different dimensions and proportions, requiring different remedies. Or so the legislature may
17
     think. Or the reform may take one step at a time, addressing itself to the phase of the problem
18
     which seems most acute to the legislative mind.” Williamson, 348 U.S. at 489.
19
             The Ordinance readily survives rational-basis scrutiny, particularly in the context of the
20
     current crisis. Providing hazard pay to grocery store employees compensates workers who are
21

22

23   20
       Under rational basis review, “a legislative choice is not subject to courtroom fact-finding and
     may be based on rational speculation unsupported by evidence or empirical data.” F.C.C., 508
24   U.S. at 313.
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     MOTION TO DISMISS– Page 22 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 30 of 32




 1   highly vulnerable to health and safety risks for the risk they incur, improves retention of these

 2   workers, ensures that these workers can better afford the resources they need to stay healthy and

 3   prevent transmission, and helps ensure continued community access to food and other essential

 4   goods. The legislature’s decision to exclude employers of other essential workers is of no

 5   moment. See RUI One Corp., 371 F.3d at 1155 (permitting legislature to exclude “similar

 6   businesses elsewhere in the City” from minimum wage requirements because “[s]uch legislative

 7   decisions are virtually unreviewable, since the legislature must be allowed leeway to approach a

 8   perceived problem incrementally”) (internal quotation marks and citations omitted).

 9
        E. The Washington Constitution’s Privileges and Immunities Clause provides no
10         separate basis for the Complaint.

11          Plaintiffs likewise fail to state a claim under the Washington Constitution’s Privileges
12   and Immunities Clause. Complaint at ¶ 40. Article I, Section 12 of the Washington Constitution
13   provides that “[n]o law shall be passed granting to any citizen, class of citizens, or corporation
14   other than municipal, privileges or immunities which upon the same terms shall not equally
15   belong to all citizens or corporations.” Wash. Const. Art I, § 12. This provision generally
16   provides the same protections, and requires the same analysis, as the federal Equal Protection
17   Clause. Martinez-Cuevas, 196 Wash.2d at 518-19. An independent analysis is undertaken “only
18   where a law implicates a ‘privilege or immunity’ as defined in our early cases distinguishing the
19   fundamental rights of state citizenship.” Id.
20           “Not every legislative classification constitutes a ‘privilege’ within the meaning of
21   article I, section 12 but only those where it is, in its very nature, such a fundamental right of a
22   citizen that it may be said to come within the prohibition of the constitution, or to have been had
23   in mind by the framers of that organic law.” Ockletree v. Franciscan Health Sys, 179 Wash.2d
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     MOTION TO DISMISS– Page 23 of 24                                                          Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                      Seattle City Attorney
                                                                                  701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                            Seattle, WA 98104-7095
                                                                                                (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 31 of 32




 1   769, 778 (2014).21 To the City’s knowledge, no court has ever found that a purported

 2   interference with employment contracts constitutes impairment of a fundamental right. Because

 3   Washington courts interpret the contract clauses in the state and federal constitutions as

 4   providing identical protections, Hambleton, 181 Wash.2d at 830, this Court should hold that an

 5   ordinance burdening private contracts does not rise to the level of implicating a fundamental

 6   right. See supra, sections IV.C-D. Accordingly, this Court need not conduct an independent

 7   analysis and may dismiss the Complaint, relying on the rational basis test described in Section

 8   IV.D, supra. See Martinez-Cuevas, 196 Wash.2d at 518-19.22

 9
                                                V. CONCLUSION
10

11          Plaintiffs fail to state any claim upon which this Court may grant relief. In the context of

12   the ongoing public health emergency, the City exercised its police powers to protect the public

13   health, safety, and general welfare by requiring grocery stores to pay hazard pay to their

14   employees. The City’s actions in protecting the public interest supersede Plaintiffs’ members’

15   contracts. Plaintiffs’ desire for a different legislative outcome does not establish a violation of

16   any federal law or constitutional protection. All of Plaintiffs’ claims fail as a matter of law; this

17   Court should dismiss the Complaint in its entirety with prejudice.

18

19   21
        As the Washington Supreme Court has explained, if the definition of a privilege or immunity
     were construed more broadly, courts “could be called on to second-guess the distinctions drawn
20   by the legislature for policy reasons nearly every time it enacts a statute.” Ockletree, 179
     Wash.2d at 779. A wide array of statutory exemptions could come under attack, from property
21
     tax exemptions based on age, disability, or veteran status, to exemptions from emission control
22   inspections for farm vehicles and hybrid vehicles. Id.
     22
        Should the Court hold that the Ordinance implicates a fundamental right, the Ordinance would
23   still satisfy the requirements of Article I, section 12 because there was a “reasonable ground” for
     the distinction between grocery employers and other businesses. Martinez-Cuevas, 196 Wash.2d
24   at 519, 523. At the very least, it is beyond dispute that providing additional pay to grocery
25   workers helps compensates these workers for the well-documented hazards they face. See,
     generally, Ordinance, Section 1.
26


     MOTION TO DISMISS– Page 24 of 24                                                         Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                           Seattle, WA 98104-7095
                                                                                               (206) 684-8200
             Case 2:21-cv-00142-JCC Document 23 Filed 02/18/21 Page 32 of 32




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 2          Respectfully submitted this 18th day of February, 2021.

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     MOTION TO DISMISS                                                                    Peter S. Holmes
     Northwest Grocery Association et al. v. City of                                 Seattle City Attorney
                                                                             701 Fifth Avenue, Suite 2050
     Seattle 2:21-cv-00142                                                       Seattle, WA 98104-7095
                                                                                           (206) 684-8200
